            Case 20-01503-lmj13 Doc 8 Filed 08/01/20 Entered 08/01/20 23:12:51                                            Desc
                              Imaged Certificate of Notice Page 1 of 6
                                               United States Bankruptcy Court
                                                 Southern District of Iowa
In re:                                                                                                     Case No. 20-01503-lmj
Steven Frank Fritchen                                                                                      Chapter 13
Megan Lynette Fritchen
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0863-4                  User: auto                         Page 1 of 1                          Date Rcvd: Jul 30, 2020
                                      Form ID: 1ORDUT13                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 01, 2020.
db/jdb         +Steven Frank Fritchen,   Megan Lynette Fritchen,   33807 - 305th Avenue,
                 Richland, IA 52585-8603

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 01, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 30, 2020 at the address(es) listed below:
              Carol F Dunbar   ssteffen@iowachapter13.com,
               mweber@iowachapter13.com;cdunbar13dm@ecf.epiqsystems.com
              Deanna R Bachman   on behalf of Trustee Carol F Dunbar dbachman@iowachapter13.com
              Steven E Goodlow   on behalf of Debtor Steven Frank Fritchen goodlow@mediacombb.net
              Steven E Goodlow   on behalf of Joint Debtor Megan Lynette Fritchen goodlow@mediacombb.net
              United States Trustee   USTPRegion12.DM.ECF@usdoj.gov
                                                                                            TOTAL: 5
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                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF IOWA
                                              110 E. Court Avenue, Suite 300
                                               Des Moines, Iowa 50309−2044
                                                  www.iasb.uscourts.gov

In the Matter of:                                            Case No. 20−01503−lmj13
Steven Frank Fritchen
Megan Lynette Fritchen
Debtor(s)


                          ORDER REGARDING DUTIES OF DEBTOR(S) AND
                       NOTICE REGARDING FAILURE TO ABIDE BY THIS ORDER

11 U.S.C sections 343 and 521 are applicable to this Chapter 13 case by operation of 11 U.S.C. section 103(a).
Section 343 provides in part that " [t]he debtor shall appear and submit to examination under oath at the meeting of
creditors under section 341(a) of this title." Section 521 adds:
(a) The debtor shall−−−

        (1) file−−−

                (A) a list of creditors (Matrix); and

                (B) unless the court orders otherwise−−−

                         (i) a schedule of assets and liabilities (Schedule A through H);
                         (ii) a schedule of current income and current expenditures (Schedule
                         I and J);
                         (iii) a statement of the debtor's financial affairs (Statement of
                         Financial Affairs) and, if section 342(b) applies, a certificate−−−

                                 (I) of an attorney whose name is indicated on the
                                 petition as the attorney for the debtor (Petition, Page
                                 7), or a bankruptcy petition preparer signing under
                                 section 110(b)(1) (Official Form 119), indicating
                                 that such attorney or the bankruptcy petition preparer
                                 delivered to the debtor the notice required by section
                                 342(b); or
                                 (II) if no attorney is so indicated, and no bankruptcy
                                 petition preparer signed Official Form 119, of the
                                 debtor that such notice was received and read by the
                                 debtor (Petition, Page 6);

                         (iv) copies of all payment advises or other evidence of payment
                         received within 60 days before the date of the filing of the peition, by
                         the debtor from any employer of the debtor (Pay Stubs; if not
                         applicable, file a Declaration Re: No Employee Income Record);
                         (v) a statement of the amount of monthly net income, itemized to
                         show how the amount is calculated (Calculation of Commitment
                         Period and Disposable Income); and
                         (vi) a statement disclosing any reasonably anticipated increase in
                         income or expenditures over the 12−month period following the date
                         of the filing of the petition (bottom portion of Schedule I, Page 2).

NOTE: IT IS EXTREMELY IMPORTANT THAT THE DEBTOR(S) TIMELY FILE ALL OF THE ABOVE
ITEMS BY THE 45TH DAY AFTER THE DATE OF THE FILING OF THE PETITION TO PREVENT
THIS CASE FROM BEING SUBJECT TO AUTOMATIC DISMISSAL EFFECTIVE THE 46TH DAY
AFTER THE DATE OF THE FILING OF THE PETITION IF A PARTY IN INTEREST REQUESTS THE
COURT ENTER AN ORDER DISMISSING THIS CASE. WITH RESPECT TO THE 45TH DAY, RULE
9006(a) BUT NOT RULE 9006(f) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE APPLIES.
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        (3) if a trustee is serving in the case, cooperate with the trustee as necessary to enable the trustee to
        perform the trustee's duties under this title;

        (4) if a trustee is serving in the case, surrender to the trustee all property of the estate and any
        recorded information, including books, documents, records and papers, relating to property of the
        estate whether or not immunity is granted under section 344 of this title;

        (5) appear at the hearing required under section 524(d) of this title.

(b) In addition to the requirements under subsection (a), a debtor who is an individual shall file with the court−−
        (1) a certificate from the approved nonprofit budget and credit counseling agency that provided the
        debtor services under section 109(h) describing the services provided to the debtor; and

        (2) a copy of the debt repayment plan, if any, developed under section 109(h) through the approved
        nonprofit budget and credit counseling agency referred to in paragraph(1).

NOTE: FAILURE OF DEBTOR(S) TO FILE THE CERTIFICATE DESCRIBED ABOVE WILL RESULT
IN THE TRUSTEE FILING A DOCKET TEXT MOTION TO DISMISS PURSUANT TO 11 U.S.C.
SECTION 109(h) (ELIGIBILITY NOT ESTABLISHED DUE TO FAILURE TO FILE 11 U.S.C. SECTION
521(b)(1) CERTIFICATE OF CREDIT COUNSELING).

(c) In addition to meeting the requirements under subsection (a), a debtor shall file with the court a record of any
interest that a debtor has in an education individual retirement account (as defined in section 530(b)(1) of the Internal
Revenue Code of 1986) or under a qualified State tuition program (as defined in section 529(b)(1) of such Code).
−−−
(e)(2)(A) The debtor shall provide−−−

                         (i) not later than 7 days before the date first set for the first meeting
                         of creditors, to the trustee a copy of the Federal income tax return
                         required under applicable law (or at the election of the debtor, a
                         transcript of such return) for the most recent tax year ending
                         immediately before the commencement of the case and for which a
                         Federal income tax return was filed; and;

                         (ii) at the same time the debtor complies with clause (i), a copy of
                         such return (or if elected under clause (i), such transcript) to any
                         creditor that timely requests such copy.
NOTE: DEBTOR(S) SHALL NOT FILE THE ABOVE DESCRIBED COPY OF A PREPETITION RETURN
OR TRANSCRIPT WITH THE COURT. RATHER, DEBTOR(S) SHALL TIMELY PROVIDE THE COPY
DIRECTLY TO THE TRUSTEE. FAILURE TO DO SO MAY RESULT IN THE TRUSTEE FILING A
DOCKET TEXT MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 521(e)(2)(A) AND (B)
(FAILURE TO PROVIDE TAX RETURN TO TRUSTEE).

(f) At the request of the court, the United States trustee, or any party in interest in a case under Chapter 13, a debtor
who is an individual shall file with the court−−

        (1) at the same time filed with the taxing authority, a copy of each Federal income tax return required
        under applicable law (or at the election of the debtor, a transcript of such tax return) with respect to
        each tax year of the debtor ending while the case is pending under such chapter;

        (2) at the same time filed with the taxing authority, each Federal income tax return required under
        applicable law (or at the election of the debtor, a transcript of such tax return) that had not been filed
        with such authority as of the date of the commencement of the case and that was subsequently filed
        for any tax year of the debtor ending in the 3−year period ending on the date of the commencement of
        the case;

        (3) a copy of each amendment to any Federal income tax return or transcript filed with the court under
        paragraph (1) or (2); and
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        (4) in a case under Chapter 13 −

                (A) on the date that is either 90 days after the end of such tax year or 1 year after the
                date of the commencement of the case, whichever is later, if a plan is not confirmed
                before such later date; and
                (B) annually after the plan is confirmed and until the case is closed, not later than the
                date that is 45 days before the anniversary of the confirmation of the plan; a
                statement, under penalty of perjury, of the income and expenditures of the debtor
                during the tax year of the debtor most recently concluded before such statement is
                filed under this paragraph, and of the monthly income of the debtor, that shows how
                income, expenditures, and monthly income are calculated.

(g) (1) A statement referred to in subsection (f)(4) shall disclose−−

                (A) the amount and sources of the income of the debtor;

                (B) the identity of any person responsible with the debtor for support of any
                dependant of the debtor; and

                (C) the identity of any person who contributed, and the amount contributed, to the
                household in which the debtor resides.

        (2) The tax returns, amendments, and statement of income and expenditures described in subsections
        (e)(2)(A) and (f) shall be available to the United States trustee, the trustee, and any party in interest
        for inspection and copying, subject to the requirements of section 315(c) of the Bankruptcy Abuse
        Prevention and Consumer Protection Act of 2005.

NOTE: DEBTOR(S) SHALL NOT FILE THE ABOVE DESCRIBED COPIES OF POSTPETITION
RETURN(S) OR TRANSCRIPT(S) OF THE ABOVE DESCRIBED STATEMENT(S) WITH THE COURT
UNLESS AND UNTIL THE UNITED STATES TRUSTEE OR A PARTY IN INTEREST FILES A MOTION
REQUESTING DEBTOR(S) TO DO SO. PARENTHETICAL NOTE: ON RARE OCCASION THE COURT
ON ITS OWN MOTION MAY ORDER DEBTOR(S) TO FILE COPIES OF POSTPETITION RETURN(S)
OR TRANSCRIPTS(S) OR STATEMENTS(S).

(h) If requested by the United States trustee or by the trustee, the debtor shall provide−−

        (1) a document that establishes the identity of the debtor, including a driver's license, passport, or
        other document that contains a photograph of the debtor; or

        (2) such other personal identifying information relating to the debtor that establishes the identity of
        the debtor.

−−−

11 U.S.C. section 1362(a) adds:

        (1) Unless the court orders otherwise, the debtor shall commence making payments not later than 30
        days after the date of the filing of the plan or the order for relief, whichever is earlier, in the
        amount−−
                (A) proposed by the plan to the trustee;

                (B) scheduled in a lease of personal property directly to the lessor for that portion of
                the obligation that becomes due after the order for relief, reducing the payments
                under subparagraph (A) by the amount so paid and providing the trustee with
                evidence of such payment, including the amount and date of payment; and

                (C) that provides adequate protection directly to a creditor holding an allowed claim
                secured by personal property to the extent the claim is attributable to the purchase of
                such property by the debtor for that portion of the obligation that becomes due after
                the order for relief, reducing the payments under subparagraph; (A) by the amount so
                paid and providing the trustee with evidence of such payment, including the amount
                and date of payment.
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−−−

        (4) Not later than 60 days after the date of filing of a case under this chapter, a debtor retaining
        possession of personal property subject to a lease or securing a claim attributable in whole or in part
        to the purchase price of such property shall provide the lessor or secured creditor reasonable evidence
        of the maintenance of any required insurance coverage with respect to the use or ownership of such
        property and continue to do so for so long as the debtor retains possession of such property.

In accordance with Rule 3015(b) of Federal Rules of Bankruptcy Procedure, the debtor(s) shall file the plan no later
than 14 days after the petition date.
Furthermore, Rule 4002 of the Federal Rules of Bankruptcy Procedure states:
(a) IN GENERAL. In addition to performing other duties prescribed by the Code and Rules, the debtor shall:

        (1) attend and submit to an examination at the times ordered by the court;
        −−−
        (3) inform the trustee immediately in writing as to the location of real property in which the debtor
        has an interest and the name and address of every person holding money or property subject to the
        debtor's withdrawal or order if a schedule of property has not yet been filed pursuant to Rule 1007;

        (4) cooperate with the trustee in the preparation of an inventory, the examination of proofs of claim,
        and the administration of the estate; and
        (5) file a statement of any change of the debtor's address.

(b) INDIVIDUAL DEBTOR'S DUTY TO PROVIDE DOCUMENTATION.

        (1) Personal Identification. Every individual debtor shall bring to the meeting of creditors under
        section 341:

                (A) a picture identification issued by a governmental unit, or other personal
                identifying information that establishes the debtor's identity; and
                (B) evidence of social security number(s), or a written statement that such
                documentation does not exist.

        (2) Financial Information. Every individual debtor shall bring to the meeting of creditors under
        section 341 and make available to the trustee the following documents or copies of them, or provide a
        written statement that the documentation does not exist or it is not in the debtor's possession:

                (A) evidence of current income such as the most recent payment advice;

                (B) unless the trustee or the United States trustee instructs otherwise, statements for
                each of the debtor's depository and investment accounts, including checking, savings,
                and money market
                accounts, mutual funds and brokerage accounts for the time period that includes the
                date of the filing of the petition; and
                (C) documentation of monthly expenses claimed by the debtor when required by
                section 707(b)(2)(A) or (B).

        (3) Tax Returns. At least 7 days before the first date set for the meeting of creditors under section 341,
        the debtor shall provide to the trustee a copy of the debtor's Federal income tax returns for the most
        recent tax year ending immediately before the commencement of the case and for which a return was
        filed, including any attachements, or a transcript of the tax return, or provide a written statement that
        the documentation does not exist.
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        (4) Tax Returns Provided to Creditors. If a creditor, at least 14 days before the first date set for the
        meeting of creditors under section 341, requests a copy of the debtor's tax return that is to be provided
        to the trustee under subdivision (b)(3), the debtor shall provide to the requesting creditor a copy of the
        return, including any attachments, or a transcript of the tax return, or provide a written statement that
        the documentation does not exist at least 7 days before the first date set for the meeting of creditors
        under section 341.

Lastly, it should be noted that the Court is entering this Order and Notice pursuant to 11 U.S.C. section 105(a) that
indicates:

The Court may issue any order, process, or judgment that is necessary or appropriate to carry out the provisions of this
title. No provision of this title providing for the raising of an issue by a party in interest shall be construed to preclude
the Court from, sua sponte, taking any action or making any determination necessary or appropriate to enforce or
implement court orders or rules, or to prevent an abuse of process.

FINAL NOTES: (1) THIS ORDER AND NOTICE DOES NOT CONTAIN AN EXHAUSTIVE LIST OF THE
DUTIES OF CHAPTER 13 DEBTOR(S). CONSULT THE APPLICABLE PROVISIONS OF THE UNITED
STATES BANKRUPTCY CODE AND THE FEDERAL RULES OF BANKRUPTCY PROCEDURE FOR
MORE DETAILS. FAILURE TO ABIDE BY THE VARIOUS DIRECTIVES CARRIES VARIOUS
CONSEQUENCES. (2) REMEMBER TO REDACT ALL BUT THE LAST FOUR DIGITS OF SOCIAL
SECURITY NUMBER(S) AND TAXPAYER−IDENTIFICATION NUMBER(S) AND OTHER
INFORMATION OUTLINED IN RULE 9037 OF THE FEDERAL RULES OF BANKRUPTCY
PROCEDURE. (THE CLERK OF COURT DOES NOT REDACT THE INFORMATION FOR YOU.)

ACCORDINGLY, IT IS HEREBY ORDERED and NOTICED that:
        (1) The Debtor(s) and, if represented by counsel, the Attorney for the Debtor(s) shall comply fully and
        timely with all the Bankruptcy Code sections and the Federal Rules of Bankruptcy Procedure,
        including the Rules governing this Chapter 13 case. Failure to do so may result in this case being
        dismissed and may result in the imposition of court costs and appropriate sanctions. Furthermore,
        dismissal may be with prejudice pursuant to 11 U.S.C. section 109(g)(1)

        (2) IF ALL THE ITEMS LISTED IN 11 U.S.C. SECTION 521(a)(1) HAVE NOT BEEN FILED
        BY THE 45TH DAY AFTER THE DATE OF THE FILING OF THE PETITION, ANY PARTY IN
        INTEREST MAY MAKE AN 11 U.S.C. SECTION 521(i)(2) REQUEST THAT THE COURT
        ENTER AN ORDER DISMISSING THIS CASE BY FILING A WRITTEN MOTION OR BY
        MAKING SUCH REQUEST DURING A HEARING AS REQUIRED BY RULE 9013 OF THE
        FEDERAL RULES OF BANKRUPTCY PROCEDURE.

        (3) If the Debtor(s) or the Attorney for the Debtor(s) should fail to abide by this Order and depending
        upon the circumstances of the case, the United States Trustee or the Chapter Trustee may file a
        motion to dismiss or may request other appropriate relief.

  Entered on Docket
       7/30/20
                                                                               Judge Lee M. Jackwig
                                                                               United States Bankruptcy Judge
